               Case 1:15-cr-00867-RMB Document 694 Filed 12/14/20 Page 1 of 2




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                                          December 14, 2020

  Via ECF

  Hon. Richard M. Berman
  United States District Judge
  Southern District of New York
  Daniel Patrick Moynihan U.S. Courthouse
  500 Pearl Street
  New York, New York 10007

             Re:   United States v. Türkiye Halk Bankasi A.Ş., S6 15 Cr. 867 (RMB)

  Dear Judge Berman:

          We submit this reply in support of our motion to compel (EFC No. 691). Notably, the
  government does not explain why it took so long to produce this basic information. Instead, the
  government compliments itself for complying with its discovery obligations without addressing
  the fact that it failed to do so until the defense moved to compel. Defense counsel is still
  analyzing the produced information to determine if the government has in fact met its
  obligations.

           The government’s unrelated discussion of other discovery is just as problematic. For
  example, the government’s description of its efforts to obtain additional discovery from Treasury
  fails to explain why to date it has only produced ten documents from Treasury. Nor does the
  government justify why it has failed for months to disclose to the defense what searches are
  being done at Treasury—not even simple information such as what custodians are being
  searched for what information. Were the government actually to disclose this information, the
  defense could bring any discovery disputes (if there are in fact any) to the Court now rather than
  waiting for months until after the government has completed the search. Instead, the government
  merely claims that it is searching Treasury files without explaining when it even expects to
  complete its undescribed process.

          There are a number of other discovery issues that we are attempting to resolve with the
  government during these challenging times. For example, we have been requesting Brady
  information for several months. After initially claiming that it was not aware of any Brady
  information whatsoever, the government four days ago sent us a lengthy letter addressing Brady
  that by-and-large merely recited evidence favorable to the defense elicited during the Atilla trial.
         Case 1:15-cr-00867-RMB Document 694 Filed 12/14/20 Page 2 of 2


December 14, 2020
Page 2

The government’s letter did not meaningfully address whether there is information outside the
Atilla trial favorable to the defense.

       Defense counsel shall continue to attempt to work with the government during these
extraordinary times to address the outstanding discovery issues. We write today to advise the
Court that we should not have had to wait so long for the data. The government’s delays are
perhaps understandable during a global pandemic, but we do not agree with the government’s
rosy assessment of the state of discovery in this case. It is taking far too long for the government
to meet its obligations.



                                                      Respectfully,

                                                      /S Robert M. Cary

                                                      Robert M. Cary

cc:    Counsel of record
